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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ANASTACIO SALVADOR RODRIGUEZ,

                Plaintiff,

         v.                                              Civil Action No. 16-0977 (DLF)

 ADAMS RESTAURANT GROUP, et al.,

                Defendants.



                             MEMORANDUM OPINION & ORDER

        This suit concerns whether Adams Restaurant Group unlawfully classified former

employee Anastacio Rodriguez as an executive rather than as the nonmanagerial laborer he says

he was. Rodriguez sued the restaurant and its executive chef under the Fair Labor Standards Act,

the District of Columbia Minimum Wage Act, and the District of Columbia Wage Payment and

Wage Collection Law. Dkt. 1. Before the Court is the defendants’ motion for summary

judgment. Dkt. 27. For the reasons that follow, the motion will be granted in part and denied in

part.

I. BACKGROUND

        The Fair Labor Standards Act requires employers to pay overtime compensation (at least

150 percent of the rate of regular compensation) to a covered employee working more than forty

hours in a week. 29 U.S.C. § 207(a). The Act exempts certain employees from that requirement,

however, including those who work “in a bona fide executive . . . capacity.” Id. § 213(a). The

D.C. Minimum Wage Act mirrors these provisions. D.C. Code §§ 32-1003(c), 32-1004(a). The
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D.C. Payment and Wage Collection Law sets timing requirements for payment of wages and

defines wages to include overtime premiums. Id. §§ 32-1301 et seq.

       Plaintiff Anastacio Rodriguez alleges that defendants Adams Restaurant and executive

chef Claudia Rivas’s classification of him as a bona fide executive—and their corresponding

decision not to pay him overtime—violated those laws. During discovery, Rodriguez and his

former superiors gave very different accounts of his role with the company, both sides serving

their own narrative. The restaurant’s witnesses recalled Rodriguez regularly exercising

managerial power, while Rodriguez described his work as manual-labor intensive and without

administrative input or leadership.

       The restaurant initially hired Rodriguez as a part-time “line cook” in June 2015, paying

him $14 an hour to prepare ingredients and cook food. Rivas Dep. at 72:12–15, Dkt. 27-3. An

immigrant from Mexico with only a high school education, Rodriguez had nineteen years of

culinary experience but no formal culinary education. Rodriguez Dep. at 16:19–20, 19:13–20,

Dkt. 28-1; Rivas Dep. at 212:4–13; 228:18-229:15, Dkt. 27-3. In September 2015, the restaurant

promoted him to sous chef with a $55,000 annual salary and classified him as exempt from the

overtime requirement. Adams Restaurant Answers to Pl.’s First Set of Interrogs., Answer to

Interrog. No. 9, at 10–11, Dkt. 27-4. According to Rodriguez, his hours per week jumped from

about forty to about seventy. Rodriguez Dep. at 44:6–8, Dkt. 28-1; Rodriguez Answers to Defs.’

Interrog. Answer No. 3 at 4–5. Dkt. 28-1, Ex. B.

       At first, another sous chef, Louis Benitez, also worked at the restaurant. See Rodriguez

Dep. at 48:14–18, Dkt. 28-1. Rodriguez testified that he and Benitez both worked full days

during their overlapping time as sous chefs, with Benitez supervising him. Rodriguez Dep. at

49:1–5, 52:7–19, Dkt. 28-1. The restaurant, on the other hand, claims that one of the sous chefs



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was responsible for the day shift while the other was responsible for the night shift. Adams Dep.

at 160:18–161:7, Dkt. 27-6. In any event, Benitez left the restaurant after a month or two and

Rodriguez became the only sous chef. See Rodriguez Dep. at 49:15–17, Dkt. 28-1, Ex. A; id. at

63:12–20, Dkt. 27-5. After about half a year, Rodriguez was fired in March 2016. Adams

Restaurant Answers to Pl.’s First Set of Interrogs., Answer to Interrog. No. 9, at 10–11.

       During Rodriguez’s tenure, Rivas lived in Florida and visited the restaurant only two to

five times per month. Rivas Dep. at 31:2–3, Dkt. 27-3. According to Rodriguez, however, she

monitored employees daily through surveillance video, regularly informed them that she was

watching them, and often provided corrective instruction and reprimands. Rodriguez Dep. at

118:11–119:15, Dkt. 28-1; Rodriguez Decl. ¶ 6, Dkt. 28-1, Ex. C. Rodriguez also claimed that

Rivas “fired a lot of people” in the kitchen while Rodriguez was sous chef (and that he did not

fire anyone himself). Rodriguez Dep. at 50:2–10, 59:3–5, Dkt. 28-1. Rodriguez testified that he

was supervised by both Rivas and a restaurant manager (and Benitez at first), though Rivas

disputed that. Rodriguez Decl. ¶ 5; Rivas Dep. at 372:6–7 (“[Rodriguez] didn’t have someone

supervising him, he was a supervisor.”). Rivas testified that Rodriguez supervised line cooks,

but Rodriguez recounted that he offered the line cooks very little instruction beyond some

informal training during three line cooks’ first day on the job. Rivas Dep. at 174:14–17; Dkt. 27-

3; Rodriguez Dep. at 86:16–20, 88:2–17, 89:8–16, 90:21–91:9, Dkt. 28-1. Rodriguez conducted

approximately three interviews of prospective hires, but he says that his questions were limited

to “Where have you worked?” and “What do you know how to do?,” and he simply relayed the

answers to the restaurant manager, who made the hiring decision without his input. Rodriguez

Dep. at 59:6–61:20, Dkt. 28-1. But see Adams Restaurant Answers to Pl.’s First Set of

Interrogs., Answer to Interrog. No. 2, at 4 (“[Rodriguez] possessed the independent authority to



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hire and fire other employees.”). According to the restaurant, Rodriguez’s primary duty was

managing the restaurant’s kitchen operations and staff, but according to Rodriguez, his daily

schedule generally consisted of preparing food and cooking. Adams Restaurant Answers to Pl.’s

First Set of Interrogs., Answer to Interrog. No. 2, at 4; Dkt. 28-1, Ex. B, Pl.’s Interrog. Answer

No. 2, at 4.

        After being fired, Rodriguez sued Adams Restaurant and Rivas (collectively, the

restaurant) under the Fair Labor Standards Act, the District of Columbia Minimum Wage Act,

and the District of Columbia Wage Payment and Wage Collection Law. See Compl. at 4–7;

29 U.S.C. §§ 201 et seq.; D.C. Code §§ 32-1001 et seq.; D.C. Code §§ 32-1301 et seq. After

discovery, the restaurant moved for summary judgment. Adams Restaurant Mot. Summ. J.,

Dkt. 27. The case was reassigned to the undersigned judge on December 4, 2017.

II. LEGAL STANDARD

        A court grants summary judgment if the moving party “shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). A

“material” fact is one with potential to change the substantive outcome of the litigation. See

Liberty Lobby, 477 U.S. at 248; Holcomb v. Powell, 433 F.3d 889, 895 (D.C. Cir. 2006). A

dispute is “genuine” if a reasonable jury could determine that the evidence warrants a verdict for

the nonmoving party. See Liberty Lobby, 477 U.S. at 248; Holcomb, 433 F.3d at 895. “If there

are no genuine issues of material fact, the moving party is entitled to judgment as a matter of law

if the nonmoving party ‘fails to make a showing sufficient to establish the existence of an

element essential to that party’s case, and on which that party will bear the burden of proof at

trial.’” Holcomb, 433 at 895 (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)).


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        In reviewing the record, the court “must draw all reasonable inferences in favor of the

nonmoving party, and it may not make credibility determinations or weigh the evidence.”

Reeves v. Sanderson Plumbing Prods., 530 U.S. 133, 150 (2000). “Thus, although the court

should review the record as a whole, it must disregard all evidence favorable to the moving party

that the jury is not required to believe,” id. at 151, and it “is . . . to believe[]” “[t]he evidence of

the non-movant,” Liberty Lobby, 477 U.S. at 255.

        At the same time, to win at summary judgment a defendant “need only identify the ways

in which the plaintiff has failed to come forward with sufficient evidence to [allow] a reasonable

jury to find in her favor on one or more essential elements of her claim.” Grimes v. District of

Columbia, 794 F.3d 83, 93 (D.C. Cir. 2015); see also Celotex, 477 U.S. at 323–325. And while

the defendant bears this burden of establishing that the plaintiff lacks sufficient evidence, the

defendant need not produce any evidence of its own. The plaintiff, meanwhile, “cannot rely on

the allegations of her own complaint in response to a summary judgment motion, but must

substantiate them with . . . evidence that a reasonable jury could credit in support of each

essential element of her claims.” Grimes, 794 F.3d at 94. The plaintiff “must do more than

simply show that there is some metaphysical doubt as to the material facts,” Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986), and must establish that the evidence

is not “so one-sided that reasonable men and women must find” for the defendant. Radtke v.

Lifecare Mgmt. Partners, 795 F.3d 159, 166 (D.C. Cir. 2015).

        Summary judgment is appropriate, in sum, when “the parties agree about the facts—what

happened—and the court accepts the movant’s view of the legal implications of those facts,

or . . . when a putatively disputed body of evidentiary material could not, even assuming a




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sympathetic factfinder, reasonably support a finding crucial to the nonmoving party’s legal

position.” Johnson v. Perez, 823 F.3d 701, 705 (D.C. Cir. 2016).

        More specific to this case, “[w]hen the underlying facts are in dispute, the exemption

question under the FLSA is a mixed question of law and fact.” Radtke v. Lifecare Mgmt.

Partners, 795 F.3d 159, 165 (D.C. Cir. 2015) (internal quotation marks and alteration omitted).

“The question of how the [employees] spent their working time . . . is a question of fact. The

question whether their particular activities excluded them from the overtime benefits of the

FLSA is a question of law.” Icicle Seafoods, Inc. v. Worthington, 475 U.S. 709, 714 (1986).

III. ANALYSIS

        The Wage Payment and Wage Collection Law claim cannot proceed because the

Minimum Wage Act “is the sole remedy for . . . overtime violations” under D.C. law. Columbia

Thompson v. Digicon Corp., 107 F. Supp. 3d 49, 52 (D.D.C. 2015). The legal standards for the

overtime provisions of the Federal Labor Standards Act and the D.C. Minimum Wage Act are

essentially identical, so the Court will analyze the claims together. Cf. Villar v. Flynn

Architectural Finishes, Inc., 664 F. Supp. 2d 94, 96 (D.D.C. 2009).

        A.      The restaurant did not waive the executive exemption defense.

        Rodriguez first argues that the executive exemption is an affirmative defense that the

restaurant waived by failing to raise it in its answer. Rodriguez Opp. Mem. at 4–5, Dkt. 28; see

also Fed. R. Civ. P. 8(c) (“In responding to a pleading, a party must affirmatively state any

avoidance or affirmative defense.”); Harris v. U.S. Dep’t of Veterans Affairs, 126 F.3d 339, 343

(D.C. Cir. 1997) (“[I]t is well-settled that a party’s failure to plead an affirmative defense . . .

generally results in the waiver of that defense and its exclusion from the case.” (internal

quotation marks and alteration omitted)); Corning Glass Works v. Brennan, 417 U.S. 188, 196–


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97 (1974) (“[T]he application of an exemption under the Fair Labor Standards Act is a matter of

affirmative defense on which the employer has the burden of proof.”). Rodriguez’s argument

fails because the defendants provided sufficient notice of the defense in their answer. See

Daingerfield Island Protective Soc’y v. Babbitt, 40 F.3d 442, 444 (D.C. Cir. 1994) (“The purpose

of [Rule 8(c)] is to put opposing parties on notice of affirmative defenses and to afford them the

opportunity to respond to the defenses.”). The answer asserted that “as an overtime exempt

position, Plaintiff was not entitled to compensation for hours worked over 40 in a workweek.”

Answer ¶ 13, Dkt. 4. The answer also admitted that Adams Restaurant “paid Plaintiff as if he

was overtime exempt” because “Plaintiff was not entitled to additional pay for ‘overtime hours’

worked.” Id. ¶¶ 15, 16. This was more than enough to place Rodriguez on notice of the

restaurant’s intention to invoke the executive-exemption defense. Indeed, the complaint

anticipated the defense and both sides’ discovery was aimed at addressing the defense. See, e.g.,

Compl. ¶ 15. Because Rodriguez “had notice of the [defense], conducted discovery on the issue,

and had ample opportunity to respond,” the defense was adequately raised. FEC v. NRA, 254

F.3d 173, 189 (D.C. Cir. 2001); see also 1443 Chapin St., LP v. PNC Bank, 810 F. Supp. 2d 209,

220 (D.D.C. 2011) (observing that the defendant in FEC v. NRA raised an affirmative defense by

filing an “informal ‘notice of related decision’”).

       B.      Genuine disputes of fact preclude summary judgment.

       On the merits of the executive-exemption defense, however, Rodriguez has the better

argument at this stage. The Department of Labor has “promulgated detailed regulations

outlining the criteria for the application of the FLSA exemptions,” 29 C.F.R. §§ 541.100 et seq.,

and these regulations “are entitled to judicial deference and are the primary source of guidance

for determining the scope of exemptions to the FLSA,” McKinney v. United Stor-All Centers



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LLC, 656 F. Supp. 2d 114, 121 (D.D.C. 2009) (quoting Clements v. Serco, Inc., 530 F.3d 1224,

1227 (10th Cir. 2008)). A Department of Labor regulation establishes that an employee qualifies

for the executive exemption when: (1) the employee is compensated on a salary basis at a rate of

at least $455 per week; (2) the employee’s “primary duty is management of the enterprise in

which the employee is employed or of a customarily recognized department or subdivision

thereof”; (3) the employee “customarily and regularly directs the work of two or more other

employees”; and (4) the employee “has the authority to hire or fire other employees or whose

suggestions and recommendations as to the hiring, firing, advancement, promotion or any other

change of status of other employees are given particular weight.” 29 C.F.R. § 541.100. The

regulation defines the term “primary duty” as “the principal, main, major, or most important duty

that the employee performs.” 29 C.F.R. 541.700(a). The regulation lists several factors to

consider when determining an employee’s primary duty: (1) “the relative importance of the

exempt duties as compared with other types of duties”; (2) “the amount of time spent performing

exempt work”; (3) “the employee’s relative freedom from direct supervision”; and (4) “the

relationship between the employee’s salary and the wages paid to other employees for the kind

of nonexempt work performed by the employee.” Id.1



1
  Until recently, courts interpreted the Federal Labor Standards Act “liberally to apply to the
furthest reaches consistent with congressional direction.” Tony & Susan Alamo Found. v. Sec’y
of Labor, 471 U.S. 290, 296 (1985) (quotation marks omitted). Exemptions were “narrowly
construed against the employers seeking to assert them and their application limited to those
[cases] plainly and unmistakably within their terms and spirit.” Arnold v. Ben Kanowsky, Inc.,
361 U.S. 388, 392 (1960). In some circuits, employers bore the burden of establishing that an
employee fell within an exemption by clear and convincing evidence. Corning Glass Works, 417
U.S. at 196–97 & n.12; Smith v. Gov’t Emps. Ins. Co., 590 F.3d 886, 891 & n.5 (D.C. Cir. 2010)
(reporting varying levels of proof required in other circuits).

The United States Supreme Court recently rejected these principles, however, concluding that
“[b]ecause the FLSA gives no textual indication that its exemptions should be construed
narrowly, there is no reason to give them anything other than a fair (rather than a narrow)
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       Rodriguez concedes that the restaurant paid him more than $455 per week but contends

that he did not meet the other requirements for exemption. See Rodriguez Opp. Mem. at 6 n.3,

Dkt. 28. On Rodriguez’s telling, his primary duty was not management but cooking and food

preparation, as apparent from the time he spent cooking and prepping rather than supervising; his

supervision by Rivas, the restaurant manager, and Benitez; and his pay per hour compared to that

of non-exempt kitchen staff. See, e.g., Rodriguez Decl. ¶ 5; Rodriguez Dep. at 86:16–20, 88:2–

17, 89:8–16, 90:21–91:9, Dkt. 28-1; Dkt. 28-1, Ex. B, Rodriguez Interrog. Answer No. 2 at 4;

Dkt. 28-1, Ex. I, Hourly Pay Rates of Non-Exempt Kitchen Staff; Rodriguez Opp. Mem. at 7–13.

Neither did Rodriguez, on his account, customarily direct the work of other employees. As he

tells it, the line cooks were autonomous and received no or little oversight from him. Rodriguez

Dep. at 86:16–20, 88:2–17, 89:8–16, 90:21–91:9, Dkt. 28-1; Rodriguez Opp. Mem. at 12.

Finally, according to Rodriguez, he did not hire or fire existing employees—Rivas and the

restaurant manager made those calls. See Rodriguez Dep. 50:2–10, 59:3–5, Dkt. 28-1;

Rodriguez Opp. Mem. at 12–13. Rodriguez claims that he interviewed about three prospective

workers but that he simply relayed information about their experience to the restaurant manager

and had no input in the hiring decisions. Rodriguez Dep. at 59:6–61:20, Dkt. 28-1.

       A jury could reasonably conclude that Rodriguez’s testimony is credible. The restaurant

argues that summary judgment should be granted because Rodriguez’s allegations are based

“solely upon [his] uncorroborated, self-serving assertions . . . , which are not supported by any

credible evidence in the record.” Adams Restaurant Mot. Summ. J. at 1, Dkt. 27. But unless a

self-serving assertion is conclusory or “so undermined as to be incredible,” it makes “no



interpretation.” Encino Motorcars, LLC v. Navarro, 138 S.Ct. 1134, 1142 (2018) (internal
quotation marks and alteration omitted). The exemptions, in short, “are as much a part of the
FLSA’s purpose as the overtime-pay requirement.” Id.
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difference that [a] plaintiff’s testimony is uncorroborated.” Robinson v. Pezzat, 818 F.3d 1, 9, 10

(D.C. Cir. 2016). “After all, evidence a party proffers in support of its cause will usually, in

some sense, be ‘self-serving.’” Perez, 823 F.3d at 710. Whether self-serving or not, the parties

“are legally competent to give material testimony” and in many cases are “the key, or even sole,

witnesses.” Id. “To the extent the testimony of a witness who is also a party may be impaired by

party self-interest, it is ordinarily the role of the jury—not the court on summary judgment—to

discount it accordingly.” Id.

       The exception to that rule for conclusory or incredible assertions does not apply here.

Rodriguez’s testimony is far from conclusory—he explained in detail the conditions of his work,

how he spent his time, the extent to which he supervised others, and the extent to which others

supervised him. Compare Rodriguez Dep., and Rodriguez Decl., with Greene v. Dalton, 164

F.3d 671, 675 (D.C. Cir. 1999) (concluding with respect to a retaliation claim that the plaintiff’s

testimony was conclusory because she asserted only that she “applied for summer jobs in 1996

and 1997 and was not hired although ‘another student, who had less experience and education

was hired’”). And there are only “narrow circumstances” in which a court may put aside self-

serving testimony as incredible, such as when the testimony is both uncorroborated and

undermined by “other credible evidence, physical impossibility or other persuasive evidence that

the plaintiff has deliberately committed perjury.” United States v. Seventeen Thousand Nine

Hundred Dollars, 859 F.3d 1085, 1093 (D.C. Cir. 2017) (some quotation marks omitted); see

also Chenari v. George Washington Univ., 847 F.3d 740, 747–48 (D.C. Cir. 2017) (noting that

“evidence sufficient to dismiss a plaintiff’s uncorroborated, self-serving testimony . . . is rare”

and providing as examples a “quite clear videotape” and the testimony of “multiple disinterested

witnesses” (citing Scott v. Harris, 550 U.S. 372, 378 (2007)) (internal quotation marks and



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alterations omitted)). Rodriguez’s testimony does not fall into this category because it is

internally consistent, plausible, and contradicted only by other self-serving testimony. Rule 56

thus precludes the Court from concluding that “[the restaurant’s] story is truthful and

[Rodriguez’s] story is a fabrication.” Arrington v. United States, 473 F.3d 329, 338 (D.C. Cir.

2006); see also, e.g., id. at 333 (“[A]lthough a jury might ultimately decide to credit the version

of the events described by the defendants over that offered by the plaintiff, this is not a basis

upon which a court may rest in granting a motion for summary judgment.”); Pezzat, 818 F.3d at

8 (“[T]he summary judgment standard requires us to credit the plaintiff’s version of events, even

if ‘directly contradictory’ to other testimony.” (quoting Tolan v. Cotton, 134 S. Ct. 1861, 1867

(2014))); Chenari, 847 F.3d at 747–48 (describing contradicting testimony between the plaintiff

and another witness as “a classic genuine dispute of material fact” (internal quotation marks

omitted)); Harris, 776 F.3d at 914–15 (similar); Ayissi–Etoh v. Fannie Mae, 712 F.3d 572, 576

(D.C. Cir. 2013) (similar); Johnson v. District of Columbia, 528 F.3d 969, 977 (D.C. Cir. 2008)

(similar). In this case, “[c]orroboration goes to credibility, a question for the jury, not the district

court.” Pezzat, 818 F.3d at 9.

        The conflicting accounts of Rodriguez’s role with the restaurant present numerous

disputes of material fact that could determine the legal conclusion whether the restaurant

misclassified him. The jury could reasonably resolve these disputes in Rodriguez’s favor, and

that precludes summary judgment.2




2
  The restaurant invokes the Act’s statute of limitations, which bars suits not commenced within
two years after the cause of action accrued “except that a cause of action arising out of a willful
violation may be commenced within three years after the cause of action accrued.” 29 U.S.C.
§ 255(a); see Adams Restaurant Mot. Summ. J. at 14–16. Because Rodriguez sued well within
the two-year period, this provision is inapplicable.
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                                          CONCLUSION

       For the foregoing reasons, it is

       ORDERED that the defendants’ Motion for Summary Judgment, Dkt. 27, is GRANTED

IN PART and DENIED IN PART. Specifically, the motion is granted with respect to the claim

under the D.C. Wage Payment and Wage Collection Law and is otherwise denied. It is further

ORDERED that a status conference is scheduled for May 1, 2018 at 10:00 a.m. in Courtroom 12

to discuss further proceedings.

       SO ORDERED.




                                                         ________________________
                                                         DABNEY L. FRIEDRICH
                                                         United States District Judge
Date: April 23, 2018




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